
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs.
We agree with the Appellate Division that the police officer’s testimony as to the point of impact was "without objection on the part of plaintiff”.
When a timely objection is not made, the testimony offered is presumed to have been unobjectionable and any alleged error considered waived. (CPLR 4017; 4 Weinstein-Korn-Miller, NY Civ Prac, par 4017.05, at pp 40-87 to 40-88.)
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur in memorandum.
Order affirmed.
